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                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA

                                                     )
MARK MEADOWS,                                        )
                                                     )
                 Plaintiff,                          )
                                                     )
        v.                                           )        Case No. 1:21CV3217 (CJN)
                                                     )
NANCY PELOSI, et al.,                                )
                                                     )
                 Defendants.                         )
                                                     )

                  PLAINTIFF’S BRIEF IN SUPPORT OF HIS MOTION
               FOR AN EXPEDITED ORDER DEFERRING HIS TIME TO
             RESPOND TO DEFENDANTS’ SUMMARY JUDGMENT MOTION

        Plaintiff Mark Meadows, by and through his counsel, hereby moves pursuant to Fed. R.

Civ. P. 56(d), and specifically the advisory committee’s note to the 2010 amendments, for an order

deferring the time to respond to Defendants’ summary judgment motion. This motion supplements

Meadows’ previous motion under Rule 56(d) by requesting additional, expedited relief.

Defendants have indicated they oppose this motion.1

                                                  Introduction

        Through a series of recent filings, the Committee Defendants now change tactics yet again

and seek an order that would deny Mr. Meadows his day in court by truncating the normal

progression of civil litigation in a federal court. Having eschewed filing dispositive motions under

Fed. R. Civ. P. 12, Defendants instead have submitted to the Court their own set facts before any

discovery has been undertaken, proclaimed those facts as both material and uncontested, and then



1
  Defendants stated to Meadows’ counsel: “The Defendants oppose this motion to defer the due date for the Plaintiff’s
opposition to the Defendants’ motion for summary judgment. For the reasons stated in their motion for summary
judgment, the Defendants believe that this matter is appropriate for a ruling by this Court on the merits as soon as
briefing can be completed and a hearing held.”
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petitioned for a rush to judgment by demanding immediate adjudication of their premature motion

for summary judgment. That demand should be rejected because this case presents important and

novel issues arising from the application of separation of powers principles as to which a proper

factual record and appropriately deliberative briefing is required to resolve in the context of this

case.2

          1.      On April 22, before any discovery had occurred, Defendants moved for summary

judgment based on 26 exhibits and a 29-paragraph statement of what Defendants alleged are

material and undisputed facts. See ECF No. 15.

          2.      On April 27, Defendants moved for an expedited briefing schedule on their

summary judgment motion. See ECF No. 18.

          3.      On April 29, Meadows opposed those motions and asked the Court to deny

Defendants’ summary judgment motion without prejudice or defer a ruling on it, pursuant to Fed.

R. Civ. P. 56(d), because Meadows requires certain discovery before he can oppose the motion.

See ECF No. 20. At the same time, Meadows opposed Defendants’ motion for an expedited

briefing schedule. See ECF No. 19. Meadows’ reasons for opposing the expedited briefing request

continue to apply to the current attempt to compel a short briefing schedule and are incorporated

herein.

          4.      On Monday, May 2, at 2:00 p.m., the parties held a Rule 26(f) conference. During

that conference, Defendants’ counsel never mentioned that Defendants intended to withdraw their

motion for an expedited briefing schedule, even though they took this position in a court filing less

than one hour after the call ended. See ECF No. 22.


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  Plaintiff also reiterates that there is no valid reason for the haste in resolving this matter that Defendants demand.
They have sought no affirmative relief that would result in the Plaintiff being ordered to testify before the Committee
and thus the Committee’s claim that its preferred schedule of activities justifies expedited litigation provides no
justification for the rush to judgment.

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       5.      Further, during the Rule 26(f) conference, Defendants’ counsel never indicated that

Defendants would insist on suddenly holding Meadows to a May 6 deadline to respond to their 60-

page summary judgment motion while Meadows’ own Rule 56(d) motion was pending. Meadows

previously consented to the Committee’s request for additional time, and its request for additional

pages for the motion.

       6.      In withdrawing their motion for an expedited briefing schedule, however,

Defendants now would have the Court require Meadows to submit a substantive response by the

May 6 deadline for responding to their summary judgment motion. See id.

       7.      As a result, Meadows is now compelled to seek additional relief under Fed. R. Civ.

P. 56(d) advisory committee’s note to the 2010 amendments, which provides that: “A party who

seeks relief under subdivision (d) may seek an order deferring the time to respond to the summary-

judgment motion.” This request is appropriate and would serve judicial economy as the court

considers the underlying request for relief under Rule 56 with regard to the timing of summary

judgment briefing in this litigation.

       8.      In these circumstances, the proper procedure is for the Court to resolve Meadows’

pending Rule 56(d) motion first without requiring Meadows to oppose summary judgment. If

Meadows’ Rule 56(d) motion is denied, then the Court should provide Meadows with reasonable

notice and an opportunity to respond on the merits to Defendants’ summary judgment motion. See

St. Surin v. Virgin Islands Daily News, Inc., 21 F.3d 1309, 1315 (3d Cir. 1994) (“Under these

circumstances, we think the district court should have resolved St. Surin’s Rule 56([d]) motions

before proceeding to the merits of the newspaper’s summary judgment motion and then, if it

decided to deny the request for delay, give St. Surin reasonable notice and an opportunity to




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respond on the merits to the motion for summary judgment. Its ruling on the merits, in disregard

of the Rule 56([d]) motion, was improper.”).

       9.      Defendants’ attempt to compel a substantive reply to a 60-page motion is

particularly inappropriate given the nature of this litigation: a complaint, initiated by Meadows

(not the Defendants) for declaratory relief in the normal course, without a motion for preliminary

relief. Meadows, not Defendants, is the master of his own case, which warrants normal procedural

order, factual development, resolution of any potential disputes over discovery, and deliberative

briefs on important, novel, constitutional claims implicating the Separation of Powers between

branches of government and the highest level of the Executive Branch functions. In that context,

Defendants’ effort to force premature summary judgment briefing on undeniably non-emergency

claims is unwarranted.

       10.     Wherefore, Meadows respectfully asks for an expedited ruling that he need not

respond to Defendants’ summary judgment motion unless the Court denies his pending Rule 56(d)

motion, and then only after a reasonable time following such denial.

Dated: May 3, 2022                                  Respectfully submitted,
                                                    MARK MEADOWS
                                                    By Counsel

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                                CERTIFICATE OF SERVICE

       I certify that, on May 3, 2022, a copy of the foregoing was filed on the Court’s CM/ECF

system, which will send notification to all counsel of record.

                                                     /s/ George J. Terwilliger III




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